
692 S.E.2d 110 (2010)
STATE of North Carolina
v.
Ryan Joseph LALIBERTE.
No. 423P09.
Supreme Court of North Carolina.
January 28, 2010.
William P. Hart, Jr., Assistant Attorney General, for State.
Mark D. Montgomery, for Ryan Joseph Laliberte.

ORDER
Upon consideration of the petition filed on the 7th of October 2009 by Defendant in this *111 matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 28th of January 2010."
